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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL TEXAS

ROTHSCHILD CONNECTED DEVICES                    §
INNOVATIONS, LLC                                §
                                                §
       Plaintiff,                               §            Case No:
                                                §
vs.                                             §            PATENT CASE
                                                §
T-MOBILE USA, INC.                              §
                                                §
       Defendant.                               §


                                           COMPLAINT

       Plaintiff Rothschild Connected Devices Innovations, LLC (“Plaintiff” or “RCDI”) files

this Complaint against T-Mobile USA, Inc. (“Defendant” or “T-Mobile”) for infringement of

United States Patent No. 8,788,090 (hereinafter “the ‘090 Patent”).

                              PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States

Code. Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with its principal office located at

1400 Preston Road, Suite 400, Plano, Texas 75093.

       4.      On information and belief, Defendant T-Mobile is a Delaware corporation with

its principal place of business at 12920 SE 38th St., Bellevue, Washington 98006.

       5.      On information and belief, this Court has personal jurisdiction over Defendant




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because Defendant has committed, and continues to commit, acts of infringement in the state

of Texas, has conducted business in the state of Texas, and/or has engaged in continuous and

systematic activities in the state of Texas.

       6.      On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in the Eastern

District of Texas.

                                               VENUE

       7.      Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§

1391(c) and 1400(b) because Defendant is deemed to reside in this district. In addition, and in

the alternative, Defendant has committed acts of infringement in this District.

                                  COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,788,090)

       8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

       9.      This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       10.     Plaintiff is the owner by assignment of the ‘090 patent with sole rights to

enforce the ‘090 patent and sue infringers.

       11.     A copy of the ‘090 Patent, titled “System and Method for Creating a

Personalized Consumer Product,” is attached hereto as Exhibit A.

       12.     The ‘090 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       13.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least claim 1, of the ‘090 patent by making, using, importing,

selling, and/or offering for sale a customizable personal communication system and devices



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covered by one or more claims of the ‘090 patent. Defendant has infringed and continues to

infringe the ‘090 patent either directly or through acts of contributory infringement or

inducement in violation of 35 U.S.C. § 271.

       14.     Defendant sells, offers to sell, and/or uses communication systems, including,

without limitation, the T-Mobile Family Allowances® system and related products such as

phones, which infringe at least Claim 1 of the ‘090 Patent. These systems and devices allow a

user to remotely customize the operation of a phone or other communication device. Such

customization includes, without limitation, setting usage controls and limits for the

communication device. The usage controls and limits can be set as preferences by a user and

communicated to a communication module within the communication device to control

operation of the communication device.

       15.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       16.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendants are

enjoined and restrained by this Court.

       17.     Plaintiff is in compliance with 35 U.S.C. § 287.




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                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 8,788,090 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

          (c)   Award Plaintiff damages resulting from Defendant’s infringement in

accordance with 35 U.S.C. § 284;

          (d)   Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)   Award Plaintiff such further relief to which the Court finds Plaintiff entitled

under law or equity.




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Dated: October 8, 2015             Respectfully submitted,


                                   /s/ Jay Johnson
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                                 EXHIBIT A




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